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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )                   8:13CR455
                       Plaintiff,                 )
                                                  )
       vs.                                        )                    ORDER
                                                  )
ARMAN SIMONYAN and                                )
VAHE AKOPYAN,                                     )
                                                  )
                       Defendants.                )


       This matter is before the court on the motions for an extension of time by defendant Vahe
Akopyan (Akopyan) (Filing No. 31). Akopyan seeks an extension of six months in which to file
pretrial motions in accordance with the progression order (Filing No. 27). Akopyan has filed an
affidavit wherein he consent to the motion and acknowledges he understands the additional time
may be excludable time for the purposes of the Speedy Trial Act (Filing No. 31-1). Akopyan's
counsel represents that government's counsel has no objection to the motion. Upon consideration,
the motion will be granted and the pretrial motion deadline will be extended as to both
defendants.


       IT IS ORDERED:
       Defendant Akopyan's motion for an extension of time (Filing No. 31) is granted. Akopyan
and Simonyan are given until on or before June 6, 2014, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motions and
outweigh the interests of the public and the defendants in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between January 13, 2014, and June 6,
2014, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendants' counsel require additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


       DATED this 13th day of January, 2014.
                                                      BY THE COURT:

                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
